          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL CASE NO. 1:01cr48-5


UNITED STATES OF AMERICA,                )
                                         )
                                         )
                  vs.                    )           ORDER
                                         )
                                         )
MIQUEL DAMON LAMMONS.                    )
                                         )

      THIS MATTER is before the Court to exonerate the Promissory Note

and Deed of Trust posted as bond for the Defendant herein.

      The Defendant was arrested on July 17, 2001. On September 12,

2001, the Defendant was released on a secured bond in the amount of

$100,000, which was posted by Marietta S. Ward in the form of a

Promissory Note and a North Carolina Deed of Trust. The Promissory

Note and Deed of Trust have been held by the Clerk pending final

disposition of this case.

      On November 5, 2001, the Defendant entered a plea of guilty

pursuant to a plea agreement with the Government to Count One of the

Superseding Bill of Indictment. The Defendant was sentenced on May 30,

2002, to a term of 151 months’ imprisonment. The Defendant was



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delivered to the Federal Medical Center at Lexington, Kentucky on

September 13, 2002.

     There being no further liability on the bond, the Court will order it

exonerated.

     IT IS, THEREFORE, ORDERED that the bond referenced herein is

hereby EXONERATED.

     IT IS FURTHER ORDERED that the Clerk of Court is directed to

write across the face of the Promissory Note and Deed of Trust that the

bond has been exonerated and that the Promissory Note and Deed of

Trust have been paid and satisfied, and thereafter return the same to the

Defendant, in care of his attorney, Albert M. Messer, at the following

address:

                          Albert M. Messer, Esq.
                              Messer Law Firm
                              40 Clayton Street
                      Asheville, North Carolina 28801

     IT IS SO ORDERED.
                                      Signed: January 13, 2010




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